       Case 18-19397-VFP        Doc 12    Filed 05/25/18 Entered 05/25/18 11:06:59           Desc Main
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   Marie-Ann Greenberg, MAG-1284
   Marie-Ann Greenberg, Standing Trustee
   30 TWO BRIDGES ROAD
   SUITE 330
   FAIRFIELD, NJ 07004-1550
   973-227-2840
   Chapter 13 Standing Trustee
                                                              UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF NEW JERSEY
   IN RE:
   KIMBERLY JONES                                             Case No.: 18-19397VFP

                                                              HEARING DATE: 07/05/2018

                         TRUSTEE'S OBJECTION TO CONFIRMATION OF PLAN


    Marie-Ann Greenberg, the Chapter 13 Standing Trustee by way of objection to the Debtor's proposed
plan respectfully objects as follows:
        The unsecured debts of the Debtor exceed $394,725.00 rendering Debtor ineligible to be a Debtor
    under Chapter 13 pursuant to 11 U.S.C. Section 109(e).
           Specifically, Schedules E and F are $2,046,274.
       The secured debts of the Debtor exceed $1,184,200.00, rendering Debtor ineligible to be a Debtor
    under Chapter 13 pursuant to 11 U.S.C. Section 109(e).
          Specifically, Schedule D is $2,038,566.
    The 341 meeting on June 5 will not be conducted. The Trustee will move to dismiss the case if it has not
    been converted by the Confirmation hearing on July 5.


   WHEREFORE, Marie-Ann Greenberg, the Chapter 13 Standing Trustee prays that confirmation of the Debtor's
Chapter 13 plan in its present form be denied.


Dated: May 25, 2018                                            By:   /S/Marie-Ann Greenberg
                                                                     Marie-Ann Greenberg, Esquire
                                                                     Chapter 13 Standing Trustee
